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✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                             SOUTHERN                                                 DISTRICT OF                                       FLORIDA



            Jiangmen Benlida Printed Circuit Co
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                            Circuitronix, LLC                                                                          Case Number: 21-60125-CV-SCOLA

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Jonathan Goodman                                                   J.C. Mazzola, R. Lerner, & A. Guan                        Chauncey Cole & Stephen Rosenthal
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 1/13/2023                                                          Stephanie McCarn                                          Faithtrina Bynum-Stinson
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

                      1/13/2023                                     Sworn Interpreter, Serena Chow (CantoneseI Interpreter)

                      1/13/2023                                     Sworn witness, Yukan "Roger" Wu, CFO- (Benlida's Accountant / Finance Manager)

             3        1/13/2023           Yes           Yes         Benlida's (BLD's) Audited Financials (DE# 112-1/ Exhibit F-1)

             4        1/13/2023           Yes           Yes         BLD's Quarterly Financials (DE# 112-1/ Exhibit G-1)

            16        1/13/2023           Yes           Yes         Email dated 11/21/2022 from Chauncey Cole (DE# 112-1/ Exhibit K)

   Q        18        1/13/2023           Yes           Yes         Email dated 11/22/2022 from Chauncey Cole (DE# 112-1/ Exhibit M) (Unredacted)

                      1/13/2023                                     Sworn witness, Huang "Tracy" Sulan (Benlida's Director of Sales)

   A         1        1/13/2023           yes           yes         Settlement Agreement & General Release (DE# 112-1 Exh. A)

   B         2        1/13/2023           yes           yes         Revised Manufacturing Agreement (DE# 112-1 Exh. B)

   N        14        1/13/2023           yes           yes         Email dated 11/17/2022 (4:31pm) from Chauncey Cole IV with "Notice of Termination"

            24        1/13/2023           yes           yes         Email dated 6/1/2022 from Chauncey Cole including Mediation Term Sheet

            40        1/13/2023           yes           yes         Redacted declaration of Huang "Tracy" Sulan (DE#120/ Exh. 40)

                      1/13/2023                                     Sworn witness, Rishi Kukreja (CEO for Circuitronix)

            37        1/13/2023           yes           yes         Email dated March 21, 2017 from Huang Sulan (aka "Tracy") (Bates No. CTX 00002070)

            19        1/13/2023           yes           yes         Email dated November 14, 2022 from Celin Astudillo

   R                  1/13/2023           yes           yes         Screenshot of Circuitronix Company Overview from YouTube (0:28/4:55- time)

   S                  1/13/2023           yes           yes         Circuitronix -PCB Manufacturing facilities documents dated:1/12/23- (8 pages)

            12        1/13/2023           yes           yes         12A-D: Excel Sheet Entitled (A) Balance, (B) Inventory, (C) Fixed Assets, (D) Income- Profit/Loss

                      1/13/2023                                     Sworn witness, Celin Astudillo (Circuitronix Corporate Controller)




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    1   Pages


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